 

Case 3:04-cV-02427-ARC Document 167 Filed 11/08/07 Page 1 of 3

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Case 3:04-cV-02427-ARC Document 167 Filed 11/08/07 Page 2 of 3

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Case 3:04-cV-02427-ARC Document 167 Filed 11/08/07 Page 3 of 3

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